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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

 Craig Borchardt,                                 Civil Action No. ____________________

               Plaintiff,

 vs.                                              COMPLAINT AND DEMAND FOR

 Credit Bureau of New Ulm, Inc. d/b/a                         JURY TRIAL
 Phoenix Management Systems,

               Defendant.




                            PRELIMINARY STATEMENT

1.     This is an action for damages brought by Plaintiff Craig Borchardt, an individual

       consumer, against Defendant for violations of the Fair Debt Collection Practices

       Act, 15 U.S.C. § 1692 et seq.,



                                    JURISDICTION

2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C.

       § 1692k(d).

3.     This action arises out of the Defendant’s violations of the Fair Debt Collection

       Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”).

4.     Venue is proper in this District because the acts and transactions occurred here,

       Plaintiff resides here, and Defendant transacts business here.
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                                        PARTIES

5.    Plaintiff Craig Bordchardt (hereinafter “Plaintiff”) is a natural person that resides in

      the County of Carver, State of Minnesota, and is a “consumer” as that term is

      defined by 15 U.S.C. § 1692a(3).

6.    Defendant, Credit Bureau of New Ulm, Inc. d/b/a Phoenix Management Systems,

      Inc. (hereinafter “Defendant”), is a Domestic Business Corporation, organized

      under the Laws of Minnesota, operating from an address of: 24 North Front Street,

      New Ulm, MN 56073.

7.    Defendant is engaged in the collection of debts from consumers using the mail and

      telephone. Defendant regularly attempts to collect consumer debts alleged to be due

      to another. Defendant is a “debt collector” as that term is defined by 15 U.S.C. §

      1692a(6).

                             FACTUAL ALLEGATIONS

8.    Plaintiff allegedly incurred a financial obligation with Consulting Radiologists,

      Ltd., which is a creditor as that term is defined by 15 U.S.C. § 1692a(4).

9.    The alleged obligation was primarily for personal, family or household purposes,

      which is an alleged “debt” as that term is defined by 15 U.S.C § 1692a(5), namely

      a consumer debt.

10.   Sometime on or before October 7, 2015, the alleged debt was consigned, placed,

      sold, assigned or otherwise transferred to Defendant for collection from Plaintiff.

      See EXHIBIT 1.




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11.   On or about October 7, 2015, Defendant sent Plaintiff a letter by mail in an attempt

      to collect a debt. See id.

12.   On or about October 16, 2015, Plaintiff sent Defendant a response letter by priority

      mail (Tracking Number 9405510200830887867696), disputing the alleged debt and

      requesting verification of it. See EXHIBIT 2.

13.   On or about October 16, 2016, Plaintiff called Defendant by telephone and spoke to

      a representative to confirm his correct address. Defendant’s representative

      confirmed the correct address and told Plaintiff it would send an invoice to Plaintiff

      as requested.

14.   Upon information and belief, no further communication occurred between Plaintiff

      and Defendant between October 16, 2015 and November 11, 2015.

15.   On or about November 11, 2015, Plaintiff received a call from one of Defendant’s

      representatives, asking for payment of the alleged debt. Plaintiff never received

      verification of the debt, or any response to his dispute letter. Plaintiff, during the

      November 11, 2015 phone call, asked Defendant’s representative if it had received

      his dispute letter and request for validation. Defendant’s representative confirmed

      that Defendant had received Plaintiff’s letter but indicated she was unable to see it.

      Plaintiff once more advised Defendant of his correct address and told Defendant not

      to call again.

16.   Upon information and belief, after November 11, 2015 Defendant also reported the

      alleged debt to one or more credit reporting bureaus.


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17.   Upon information and belief, as of March 15, 2016, Defendant has not sent Plaintiff

      verification of the disputed debt.

18.   Upon information and belief, Defendant continues to report the disputed debt to one

      or more credit reporting bureaus.

19.   Upon information and belief, Defendant has not notified any credit reporting agency

      to which it is reporting that the Consulting Radiologists, Ltd. debt is disputed.

20.   Defendant violated 15 U.S.C. § 1692g(b) by failing to cease collection of the alleged

      debt until verification of the alleged debt had been mailed, despite receipt of

      Plaintiff’s written dispute within thirty-days of Defendant’s initial communication.

21.   Defendant violated 15 U.S.C. § 1692e generally and 15 U.S.C. § 1692e(8)&(10)

      specifically by reporting a disputed debt to one or more credit bureaus before

      providing Plaintiff verification and/or failing to report that the debt is disputed.

22.   Plaintiff has incurred actual damages in the forms of nervousness, fear of answering

      the phone, sleeplessness, as well as, other forms of emotional distress.

23.   Plaintiff has incurred actual damages under the FDCPA in the form of out-of-pocket

      expenses, such as, attorney’s fees, as a result of Defendant’s acts and omissions.

                             Respondeat Superior Liability

24.   The acts and omissions of Defendant’s employees who were employed as agents by

      Defendant, and who communicated with Plaintiff as more fully described herein,

      were committed within the time and space limits of their agency relationship with

      their principal, Defendant.




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25.    The acts and omissions by Defendant’s employees were incidental to, or of the same

       general nature as, the responsibilities the agents were authorized to perform by

       Defendant in collecting consumer debts.

26.    By committing these acts and omissions against Plaintiff, Defendant’s employees

       were motivated to benefit their principal, Defendant.

27.    Defendant is therefore liable to Plaintiff through the Doctrine of Respondeat

       Superior for the intentional and negligent acts, errors, and omissions done in

       violation of state and federal law by its collection employees, including but not

       limited to violations of the FDCPA and Minnesota law, in its attempts to collect this

       alleged debt from Plaintiff.

                                      TRIAL BY JURY

28.    Plaintiff is entitled to and hereby demands a trial by jury. US CONST. Amend. 7.

       FED. R. CIV. P. 38.

                                 CAUSES OF ACTION

                                        COUNT I.

                        VIOLATIONS OF THE
      FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. § 1692 ET SEQ.

29.    Plaintiff incorporates by reference each and every above stated allegation as though

       fully stated herein.

30.    The foregoing acts of the Defendant constitute distinct violations of the FDCPA

       against the Plaintiff herein, including but not limited to each and every one of the

       above cited provisions of the FDCPA, 15 U.S.C § 1692 et. seq.



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31.   As a result of said violations, Plaintiff has suffered actual damages in the form of

      fear of anxiety, sleeplessness, other forms of emotional distress, amongst other

      negative emotions, and therefore Plaintiff is entitled to actual damages pursuant to

      15 U.S.C. § 1692k(a)(1) of the FDCPA.

32.   As a result of said violations, Plaintiff has incurred out-of-pocket expenses, and

      therefore Plaintiff is entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(1)

      of the FDCPA.

33.   As a result of said violations, Plaintiff is entitled to statutory damages of $1,000.00

      from Defendant, and for Plaintiff’s attorney fees and costs pursuant to 15 U.S.C. §

      1692k(a)(2)(A) and 15 U.S.C. § 1692k(a)(3).

                                PRAYER FOR RELIEF

             WHEREFORE, Plaintiff respectfully prays that this Court enter the

      following judgment, in Plaintiff’s favor:

                          COUNT I: FDCPA VIOLATIONS

      • For declaratory that Defendant’s conduct violated the FDCPA and injunctive

         relief;

      • For an award of statutory damages of $1,000.00 for the Plaintiff herein, for

         violations of the FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A), against

         Defendant;

      • For an award of costs and reasonable attorneys’ fees under the FDCPA pursuant

         to 15 U.S.C. § 1692k(a)(3), against Defendant, for Plaintiff herein;




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      • For an award of actual damages, costs and reasonable attorney fees pursuant to 15

         U.S.C. §1692k(a)(1) against Defendant herein in an amount to be determined at

         trial; and

      • For such other and further relief as may deem just and proper.




Dated: October 27, 2016.                MARSO & MICHELSON, P.A.

                                        By: s/Marcus J. Hinnenthal
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